              Case 18-81499               Doc 2         Filed 07/17/18            Entered 07/17/18 17:16:45                    Desc Main
                                                           Document               Page 1 of 2
Fill in this information to identify your case:
Debtor 1               Curtis Ray Sheffield, Jr.
                       First Name               Middle Name                      Last Name
Debtor 2               Shelly Lynn Sheffield
(Spouse if, filing)    First Name               Middle Name                      Last Name

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                         Check if this an
                                                                                                                                   amended filing

Official Form 103A
Application for Individuals to Pay the Filing Fee in Installments                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

Part 1:       Specify Your Proposed Payment Timetable

1.    Which chapter of the Bankruptcy Code are                       Chapter 7
      you choosing to file under?
                                                                   Chapter 11
                                                                   Chapter 12
                                                                   Chapter 13
2.    You may apply to pay the filing fee in up to          You propose to pay...
      four installments. Fill in the amounts you
      propose to pay and the dates you plan to
      pay them. Be sure all dates are business
      days. Then add the payments you propose                                             With the filing of the petition
      to pay.                                                          83.75                                                  8/16/18
                                                            $                             On or before this date.........
                                                                                                                             MM    / DD/ YYYY
      You must propose to pay the entire fee no
      later than 120 days after you file this               $          83.75          On or before this date...........       9/15/18
      bankruptcy case. If the court approves your                                                                            MM    / DD/ YYYY
      application, the court will set your final            $          83.75          On or before this date...........      10/15/18
      payment timetable.                                                                                                     MM    / DD/ YYYY
                                                        +   $          83.75          On or before this date...........      11/14/18
                                                                                                                             MM    / DD/ YYYY


                                                            $        335.00
                                                Total                            Your total must equal the entire fee for the chapter you checked in line 1.

Part 2:       Sign Below

By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you
understand that:

     •        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition
              preparer, or anyone else for services in connection with your bankruptcy case.
              You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your
     •        debts will not be discharged until your entire fee is paid.
              If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings
     •        may be affected.

X    /s/ Curtis Ray Sheffield, Jr.                 X    /s/ Shelly Lynn Sheffield                X    /s/ Daniel A. Springer
     Curtis Ray Sheffield, Jr.                          Shelly Lynn Sheffield                         Daniel A. Springer
     Signature of Debtor 1                              Signature of Debtor 2                         Your attorney’s name and signature, if you used one


     Date     July 17, 2018                             Date    July 17, 2018                         Date    July 17, 2018
              MM / DD / YYYY                                    MM / DD / YYYY                                MM/ DD / YYYY




B 103A (Official Form 103A)                Application for Individuals to Pay the Filing Fee in Installments
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                          First Name            Middle Name                  Last Name
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(Spouse if, filing)       First Name            Middle Name                  Last Name

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
Chapter filing under:                                                                 Chapter 7
                                                                                      Chapter 11
                                                                                      Chapter 12
                                                                                      Chapter 13


Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the court orders
that:
   The debtor(s) may pay the filing fee in installments on the terms proposed in the application.
   The debtor(s) must pay the filing fee according to the following terms:
                   You must pay…                                 On or before this date…

                   $
                                                                 Month / day / year

                   $
                                                                 Month / day / year

                   $
                                                                 Month / day / year

                + $
                                                                 Month / day / year
       Total       $



Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional property to
an attorney or to anyone else for services in connection with this case.


                                                               By the court:
                           Month / day / year                                    United States Bankruptcy Judge




B 103A (Official Form 103A)                Application for Individuals to Pay the Filing Fee in Installments
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